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 1    Scott R. Brown (CA Bar No. 151635)
      srb@hoveywilliams.com
 2    HOVEY WILLIAMS LLP
      10801 Mastin Blvd., Suite 1000
 3    84 Corporate Woods
      Overland Park, KS 66210
 4    Telephone: (913) 647-9050
      Facsimile: (913) 647-9057
 5
      Attorneys for Defendants
 6    DATALOCKER INC. and DATA LOCKER
      INTERNATIONAL, LLC
 7
 8                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 9                            SOUTHERN DIVISION
10     SPEX TECHNOLOGIES, INC.,
11                        Plaintiff,
12           vs.
13     KINGSTON TECHNOLOGY                      Case No. 8:16-cv-01790-JVS-AGR
       CORPORATION, KINGSTON
14     DIGITAL, INC., KINGSTON
       TECHNOLOGY COMPANY,                      MOTION TO WITHDRAW AS
15     INC.,                                    COUNSEL
       IMATION CORPORATION,
16     DATALOCKER INC., DATA
       LOCKER INTERNATIONAL, LLC,
17
                          Defendants.
18
19
20          Scott R. Brown of the law firm of Hovey Williams LLP hereby moves for
21    his withdrawal as counsel for Defendants DataLocker Inc. and Data Locker
22    International, LLC (“Data Locker”) in this proceeding. Douglas W. Robinson of
23    the law firm of Shook, Hardy & Bacon L.L.P. will continue to represent Data
24    Locker in this proceeding.
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Case 8:16-cv-01790-JVS-AGR Document 75 Filed 02/09/17 Page 2 of 2 Page ID #:434




 DATED: February 7, 2017            HOVEY WILLIAMS LLP


                              By:    /s/ Scott R. Brown
                                    HOVEY WILLIAMS LLP
                                    Scott R. Brown (CA Bar No. 151635)
                                    srb@hoveywilliams.com
                                    10801 Mastin Blvd., Suite 1000
                                    84 Corporate Woods
                                    Overland Park, KS 66210
                                    Telephone: (913) 647-9050
                                    Facsimile: (913) 647-9057

                                    Attorneys for Defendants
                                    DATALOCKER INC. and DATA
                                    LOCKER INTERNATIONAL, LLC




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